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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA               *

           vs.                         *   CRIMINAL NO. MJG-11-0095

JOHN I. FRANKLIN, Jr., et al.          *

*      *         *           *         *         *          *         *        *

             MEMORANDUM AND ORDER OF JANUARY 27, 2012

     For reasons stated on the record of proceedings held

January 26, 2012, subject to supplementation hereafter:

             1. The Motion to Suppress Tangible and Derivative
                Evidence Filed by Defendant Franklin [Document
                47] is DENIED.

             2. The Motion to Suppress Statement filed by
                Defendant Franklin [Document 64] is DENIED.

             3. The Motion In Limine to Preclude Expert Testimony
                Regarding Fingerprint Recovery Statistics
                [Document 113] remains pending.

                     a. Government counsel shall, by Thursday,
                        February 2, 2012 provide a written proffer
                        of the direct testimony to be offered by the
                        witness and citation to any pertinent legal
                        authority.

                     b. The Court may require the initial
                        presentation of the said expert testimony to
                        the Court prior to a ruling on the motion.

                     c. The Government shall not refer to the
                        proposed testimony to the jury prior to the
                        determination of the instant motion.

                     d. The Court will consider, in light of the
                        evidence at trial, whether any specific
                        instruction will be given regarding such
                        expert testimony as may be admitted.


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         4. By agreement of the parties, stated on the
            record, trial shall proceed on the Superseding
            Indictment pursuant to existing scheduling.


SO ORDERED, this Friday, January 27, 2012.




                                              /s/__________
                                        Marvin J. Garbis
                                   United States District Judge




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